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           EXHIBIT 9
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                                                                                                                                                   1. CONTRACT ID CODE                      PAGE OF P AGES
      AMENDMENT OF SOLICITATION/MODIFICATION OF CONTRACT                                                                                                           J                             1           4
2. AMENDMENT/MODIFICATION NO.                                3. EFFECTIVE DATE           4. REQUISITION/PURCHASE REQ. NO.                                                   5. P ROJECT NO.(If applicable)
              A00002                                             03-Jul-2019             W45XMA91224061

6. ISSUED BY                                    CODE         W9126G                      7. ADMINISTERED BY (If other than item 6)                                CODE           967457
                                                                                            EL PASO RESIDENT OFFICE
  US ARMY CORPS OF ENGINEERS FORT WORTH                                                     8037 LOCKHEED AVE, STE 203, BOX 3
  819 TAYLOR ST, CT OFC RM 2A17                                                             EL PASO TX 79925
  FORT WORTH TX 76102-0300




8. NAME AND ADDRESS OF CONTRACTOR (No., Street, County, State and Zip Code)                                                                    9A. AMENDMENT OF SOLICITAT ION NO.
   KOMAN CONSTRUCTION, LLC
   MATTHEW YATES
   2700 GAMBELL ST STE 401
                                                                                                                                               9B. DATED (SEE IT EM 11)
   ANCHORAGE AK 99503-2833

                                                                                                                                         X 10A. MOD. OF CONTRACT/ORDER NO.
                                                                                                                                           W9126G19C0025
                                                                                                              10B. DAT ED (SEE ITEM 13)
CODE       7K6A5                                                 FACILIT Y CODE                           X 06-May-2019
                                                         11. THIS ITEM ONLY APPLIES TO AMENDMENTS OF SOLICIT AT IONS
    The above numbered solicitation is amended as set forth in Item 14. The hour and date specified for receipt of Offer                       is extended,                   is not extended.

     Offer must acknowledge receipt of this amendment prior to the hour and date specified in the solicitation or as amended by one of the following methods:
     (a) By completing Items 8 and 15, and returning              copies of the amendment; (b) By acknowledging receipt of this amendment on each copy of the offer submitted;
     or (c) By separate letter or telegram which includes a reference to the solicitation and amendment numbers. FAILURE OF YOUR ACKNOWLEDGMENT TO BE
     RECEIVED AT THE PLACE DESIGNATED FOR THE RECEIPT OF OFFERS PRIOR TO THE HOUR AND DATE SPECIFIED MAY RESULT IN
     REJECTION OF YOUR OFFER. If by virtue of this amendment you desire to change an offer already submitted, such change may be made by telegram or letter,
     provided each telegram or letter makes reference to the solicitation and this amendment, and is received prior to the opening hour and date specified.

12. ACCOUNT ING AND APPROPRIATION DATA (If required)
     See Schedule
                                           13. T HIS IT EM APPLIES ONLY TO MODIFICATIONS OF CONTRACT S/ORDERS.
                                               IT MODIFIES THE CONT RACT/ORDER NO. AS DESCRIBED IN ITEM 14.
   A. THIS CHANGE ORDER IS ISSUED PURSUANT TO: (Specify authority) THE CHANGES SET FORT H IN ITEM 14 ARE MADE IN THE
      CONT RACT ORDER NO. IN ITEM 10A.

  B. THE ABOVE NUMBERED CONT RACT/ORDER IS MODIFIED TO REFLECT T HE ADMINISTRATIVE CHANGES (such as changes in paying
     office, appropriation date, etc.) SET FORTH IN ITEM 14, PURSUANT T O T HE AUT HORITY OF FAR 43.103(B).
X C. THIS SUPPLEMENTAL AGREEMENT IS ENTERED INTO PURSUANT TO AUTHORITY OF:
  FAR 52.243-4 CHANGES
  D. OTHER (Specify type of modification and authority)

E. IMPORTANT: Contractor                       is not,       X     is required to sign this document and return                 1        copies to the issuing office.

14. DESCRIPT ION OF AMENDMENT/MODIFICATION (Organized by UCF section headings, including solicitation/contract subject matter
    where feasible.)
    Modification Control Number: l4eccgf9191369
 A00002, C00003 Window s from Corridors to Hold Areas




Except as provided herein, all terms and conditions of the document referenced in Item 9A or 10A, as heretofore changed, remains unchanged and in full force and effect.
15A. NAME AND TITLE OF SIGNER (Type or print)                                                 16A. NAME AND TITLE OF CONTRACTING OFFICER (Type or print)

  5REHUW.\UNOXQG([HFXWLYH3URJUDP0DQDJHU
                                                                                               Guillermo Provencio, Administrative Contracting Officer
                                                                                              TEL:                                              EMAIL:

15B.
  B. CONTRACT OR/OFFEROR                                      15C. DATE SIGNED                16B. UNIT ED ST ATES OF AMERICA                                                        16C. DAT E SIGNED
                                                                                                                                        Digitally signed by
                                                                                                                                        PROVENCIO.GUILLERMO.1217880048
                                                                                    BY                                        Date: 2019.07.12 10:02:41 -06'00'

   (Signature of person authorized to sig
                                      sign)                                                          (Signature of Contracting Officer)                                              20190712
EXCEPTION TO SF 30                                                                    30-105-04                                                                   STANDARD FORM 30 (Rev. 10-83)
APPROVED BY OIRM 11-84                                                                                                                                            Prescribed by GSA
                                                                                                                                                                  FAR (48 CFR) 53.243
